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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                   Case No. 23-CR-361 (RDM)
 DAVID CHRISTIAN TYNER &
 CHRISTIAN PETER TYNER,

                Defendants.

                          JOINT MOTION FOR A PLEA HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendants, David Christian Tyner and Christian Peter Tyner,

with the concurrence of their attorneys, respectfully request that the Court schedule a plea hearing

in the above captioned matter. The parties consent to proceed with the plea hearing virtually. If the

court is available, the parties are available to conduct a virtual plea hearing on the previously

scheduled status hearing date of October 26, 2023.




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                                              Respectfully submitted,


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